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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND
                                   (GREENBELT DIVISION)
__




______________________________________
GEORG GARNITSCHNIG,                    )
                                       )
            Plaintiff,                 )
                                       )
      vs.                              ) Civil Action No. 12-cv-00774
                                       )
ZOLA P. HOROVITZ, et al.,              )
                                       )
            Defendants.                )
______________________________________ )




                    STIPULATION AND ORDER OF DISMISSAL WITHOUT
                    PREJUDICE AS TO DERIVATIVE AND CLASS CLAIMS


       Plaintiff Georg Garnitschnig (“Plaintiff”), and defendants Zola P. Horovitz, Paul H. Fischer,

Wayne T. Hockmeyer, William N. Kelley, Kevin M. Rooney, Marc R. Schneebaum (collectively the

“Individual Defendants”), and GenVec, Inc. (collectively, with the Individual Defendants, the

“Defendants”), by and through their respective counsel, hereby stipulate to and seek the Court’s

dismissal of the Action (defined below) without prejudice.

                                               RECITALS

       WHEREAS, Plaintiff filed his verified derivative complaint with the Court in the above-

captioned action (the “Action”) on or around March 12, 2012;

       WHEREAS, prior to and during the September 23, 2014 telephone status conference, an issue

was raised to the Court concerning Plaintiff’s continued standing to prosecute his derivative claims;



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       WHEREAS, an issue was also raised concerning the Court’s subject-matter jurisdiction over the

Action in light of an apparent absence of complete diversity of citizenship as between Plaintiff and the

Individual Defendants;

       WHEREAS, on October 17, 2014, Plaintiff’s counsel filed a new action in this Court, entitled

Galitsis v. Swirsky, et al., Case No. 14-cv-3265, asserting the same derivative claims and class action

claim contained in the amended complaint in the Action (excepting the dismissed corporate waste claim)

(the “Galitsis Action”);

       WHEREAS, on October 17, 2014, Plaintiff’s counsel filed a letter informing the Court of the

commencement of the Galitsis Action and Plaintiff’s counsel’s position as to why the derivative claims

and class action claim asserted by Plaintiff should be dismissed without prejudice and that notice to

GenVec, Inc.’s stockholders is not required in this circumstance;

       WHEREAS, the Galitsis Action and the Action have been related before this Court so that the

Galitsis Action can proceed efficiently; and

       WHEREAS, the parties to this stipulation believe that the Action should be dismissed with

prejudice as to Plaintiff only but otherwise without prejudice;




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                                            STIPULATION

       IT IS HEREBY STIPULATED AND AGREED, by and among the parties, through their

respective undersigned counsel, and subject to the approval of the Court that the Action shall be

dismissed with prejudice as to Plaintiff only but otherwise without prejudice.




Dated: November 20, 2014                        LEVI & KORSINSKY LLP



                                                By: /s/Nicholas Porritt           ___

                                                Nicholas I. Porritt (Bar No. 17078)
                                                1101 30th Street, NW
                                                Suite 115
                                                Washington, DC 20007
                                                Tel: (202) 524-4290
                                                Fax: (202) 333-2121
                                                nporritt@zlk.com

                                                Attorneys for Plaintiff

Dated: November 20, 2014                        HOGAN LOVELLS US LLP



                                                By: _ /s/ Scott Haiber                ___

                                                Steven F. Barley (Bar No. 10049)
                                                Scott R. Haiber (Bar No. 25947)
                                                100 International Drive, Suite 2000
                                                Baltimore, MD 21202
                                                Tel: (410) 659-2700
                                                Fax: (410) 659-2701
                                                steven.barley@hoganlovells.com
                                                scott.haiber@hoganlovells.com

                                                Attorneys for Defendant GenVec, Inc.




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Dated: November 20, 2014              VINSON & ELKINS LLP

                                      By: _ /s/ Lindsey Vaala           ___

                                      Lindsey R. Vaala (Bar No. 18252)
                                      2200 Pennsylvania Ave NW, Suite 500 West
                                      Washington, DC 20037
                                      Tel: (202) 639-6500
                                      Fax: (202) 639-6604
                                      lvaala@velaw.com

                                      Attorney for Defendants Zola P. Horvitz, Paul H.
                                      Fischer, Wayne T. Hockmeyer, William N. Kelley,
                                      Kevin M. Rooney, and Marc R. Schneebaum




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                                 [PROPOSED] ORDER OF DISMISSAL


          Pursuant to the stipulation of the parties, the Court hereby dismisses the Action with prejudice as

to Plaintiff only but otherwise without prejudice.



IT IS SO ORDERED.



DATED: November ___, 2014                                    ________________________________
                                                       The Honorable Paul W. Grimm
                                                       UNITED STATES DISTRICT JUDGE




4851-1123-8688, v. 2




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